Case 1:21-cr-00394-TNM Document 29 Filed 03/15/22 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Plaintiff, CASE NO. 21-CR-394 (TNM)
VS.
MATTHEW MARTIN,
Defendant.

UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

Defendant Matthew Martin (Mr. Martin), by and through his undersigned counsel,
respectfully moves the Court to modify his conditions of release to permit him to attend the trial
in the case of USA v. Griffin, 21-cr-0092 before the Honorable Treavor N. McFadden on March
21, 2022, and to conduct certain pretrial business with his undersigned attorney, to include
walking the publicly accessible area around the Capitol for the preparation of the defense of his
case, which is scheduled for April 5, 2022 before the Honorable Treavor N. McFadden. As
grounds for this motion, Mr. Martin states as follows:
1. Mr. Martin is currently charged by Information with four misdemeanors (two Class A
misdemeanors and two Class B misdemeanors), one count each for alleged violation of:
18 U.S.C. §1752(a)(1); 18 U.S.C. §1752(a)(2); 40 U.S.C. §5104 §(2)(D); and 40 U.S.C.
§5104 §(2)(G).

2. Mr. Martin is currently under conditions of release that include: “Stay out DC except for
Court/Pretrial business and meetings with attorney”.

3. Mr. Martin wishes to be permitted to travel to Washington DC to witness the trial in the

case of USA v. Griffin, 21-cr-0092 before the Honorable Treavor N. McFadden on

March 21, 2022, and to conduct certain pretrial business with his undersigned attorney, to
Case 1:21-cr-00394-TNM Document 29 Filed 03/15/22 Page 2 of 3

include walking the publicly accessible area around the Capitol for the preparation of the
defense of his case, which is scheduled for April 5, 2022, before the Honorable Treavor
N. McFadden.

4. Mr. Martin contacted his Pretrial Services Officer to obtain permission to travel to
Washington DC for the above specified purposes.

5. Mr. Martin’s Pretrial Services Officer denied his request to travel to Washington DC for
the purposes identified above.

6. The undersigned counsel respectfully submits to the Court that the proposed travel by Mr.
Martin to Washington DC is within the spirit of the reasons for which he is permitted to
travel to Washington DC and requests that the Court issue an order permitting Mr. Martin
to travel to Washington DC for the purposes identified above.

7. The undersigned counsel will be present with Mr. Martin at the trial of USA v. Griffin
and during the pretrial business in preparation of his defense with his undersigned
attorney, to include walking the publicly accessible area around the Capitol for the
preparation of the defense of his case.

8. Both Mr. Martin and the undersigned counsel plan to travel to Washington DC on March
20, 2022 and return to New Mexico on March 22, 2022.

9. AUSA Mary Dohrman has been contacted concerning this motion and she does not
oppose it. Ms. Dohrman has requested that Pretrial Services be contacted to provide
information about our travel plans/activities and the defense will honor this request.

WHEREFORE, Mr. Martin respectfully moves the Court to modify his conditions of release

to permit him to attend the trial in the case of USA v. Griffin, 21-cr-0092 before the this

Court on March 21, 2022, and to conduct certain pretrial business with his undersigned
Case 1:21-cr-00394-TNM Document 29 Filed 03/15/22 Page 3 of 3

attorney, to include walking the publicly accessible area around the Capitol for the
preparation of the defense of his case, which is scheduled for April 5, 2022 before this

Court.

Respectfully submitted,
DAN CRON LAW FIRM, P.C.

/s/ Dan Cron

DAN CRON

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Attorneys for Matthew Martin

Certificate of Service
[hereby certify that on the 15" day of March, 2021 I caused to be served a true copy of the
foregoing Unopposed Motion to Modify Conditions of Release to Mary Lyle Dohrmann
andMichael Romano, U.S. Attorney’s Office for the District of Columbia, via e-filing and email
mary.dohrmann@usdoj.gov and Michael.Romano2@usdoj.gov.

/s/ Dan Cron
DAN CRON LAW FIRM, P.C.
